











Opinion issued July 20, 2009



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In The
Court of Appeals
For The
First District of Texas




NO. 01-09-00635-CV




IN RE HARRIET STEPHENS AND OSCAR STEPHENS, Relators




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relators, Harriet Stephens and Oscar Stephens, seek mandamus relief
compelling the trial court to vacate the withdrawal of deemed admissions and to
declare that the requests for admissions are properly drafted.


 &nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We deny the petition for writ of mandamus.
PER CURIAM
Panel consists of Justices Hanks, Higley, and Bland.  


